       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Roland Baldwin
       v. Commonwealth of Virginia
       Record No. 0740-17-4
       Opinion rendered by Judge Petty on
        July 17, 2018

    2. Christopher Parris Cabral
       v. Commonwealth of Virginia
       Record No. 1186-17-1
       Opinion rendered by Judge Malveaux on
        July 17, 2018

    3. Franklin Lee Thomason, Jr.
       v. Commonwealth of Virginia
       Record No. 1290-17-3
       Opinion rendered by Judge Humphreys on
        July 17, 2018

    4. Michael Sean Green
       v. Commonwealth of Virginia
       Record No. 1338-17-4
       Opinion rendered by Judge Petty on
        July 17, 2018

    5. Jeffrey Nigel Carr
        v. Commonwealth of Virginia
        Record No. 1054-17-1
        Opinion rendered by Judge O’Brien on
        July 24, 2018

    6. Joseph John Melick
        v. Commonwealth of Virginia
        Record No. 1564-17-1
        Opinion rendered by Judge Russell on
        July 31, 2018
7. Eric Hamilton
   v. Commonwealth of Virginia
   Record No. 0814-17-2
   Opinion rendered by Judge Beales on
    August 7, 2018

8. Lee Alden Mooney
   v. Commonwealth of Virginia
   Record No. 1055-17-2
   Opinion rendered by Judge AtLee on
    August 7, 2018

9. Andy Chavez
   v. Commonwealth of Virginia
   Record No. 1189-17-4
   Opinion rendered by Judge Malveaux on
    August 14, 2018
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Braulio M. Castillo
   v. Loudoun County Department of Family Services
   Record No. 1499-17-4
   Opinion rendered by Chief Judge Huff
    on April 3, 2018
   Dismissed pursuant to Code § 17.1-410(A)(3) and (B) (180725)

2. Debra Levy
   v. Wegman’s Food Markets, Inc.
   Record No. 1634-17-4
   Opinion rendered by Judge Humphreys
    on April 3, 2018
   Dismissed pursuant to Code § 17.1-410(A)(2) and (B) (180582)
